                        Case 5:23-cv-00559-D            Document 2        Filed 06/28/23   Page 1 of 2

                                  IN THE UNITED STATES DISTRICT COURT FOR THE
                                         WESTERN DISTRICT OF OKLAHOMA

        HEATHER SMITH, individual and on                       )
        behalf of all other similarly situated,                )
                                                               )
                                                               )
                                     Plaintiff(s),             )
                                                               )
          v.                                                   )        Case No. CIV-23-559-D
                                                               )
        WHALECO INC. d/b/a TEMU,
                                                               )
                                                               )
                                                               )
                                     Defendant(s)              )

                                             ENTRY OF APPEARANCE

          To the Clerk of this court and all parties of record:

                    Enter my appearance as counsel in this case for:
          Defendant                 , WHALECO INC. d/b/a TEMU                                               .
          (Plaintiff/Defendant)                       (Name of Party)


               I certify that I am admitted to practice in this court and am registered to file
          documents electronically with this court.


                                            s/ John A. Burkhardt                           6/28/2023
                                            Signature                                            Date

                                             John A. Burkhardt
                                            Print Name

                                             Schaffer Herring PLLC
&ULPLQDO&DVHV2QO\                        Firm

   ✔ 5HWDLQHGRU86$                         7134 S. Yale Ave., Ste. 300
                                            Address
       &-$$SSRLQWPHQW
                                             Tulsa OK 74136
                                            City                             State               Zip Code
       )HGHUDO3XEOLF'HIHQGHU
                                             918-856-5378
       3UR%RQR                             Telephone

                                             john.burkhardt@schafferherring.com
       &-$7UDLQLQJ3DQHO
                                            Internet E-mail Address




    REVISED 
          Case 5:23-cv-00559-D               Document 2      Filed 06/28/23       Page 2 of 2




                                        Certificate of Service
         ✔ I hereby certify that on June
        ____                            28, 2023               I electronically transmitted theattached

document to the Clerk of Court using the (OHFWURQLF&DVH)LOLQJ6\VWHP for filing. Based on the records

currently on file LQ WKLV FDVH, the Clerk of Court will transmit a Notice of Electronic Filing to tKRVH

UHJLVWHUHGSDUWLFLSDQWVRIWKH(&)6\VWHP




          ✔
        _____ I hereby certify that on June 28, 2023               I ILOHG the attached documentZLWKWKH

&OHUNRIWKH&RXUWDQGVHUYHGWKHDWWDFKHGGRFXPHQWE\ email
                                                          

on thefollowing,ZKRDUHQRWregistered participants of the ECF System:

Frank S. Hedin, Esq.
fhedin@hedinhall.com

Arun G. Ravindran, Esq.
aravindran@hedinhall.com

E. Powell Miller, Esq.
epm@millerlawpc.com

Gregory A. Mitchell, Esq.
gam@millerlawpc.com




                                                          s/ John A. Burkhardt
                                                          s/ Attorney Name
